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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                  NO. 4:12CR00041-03 JLH

REBECCA LUCILLE SPRAY                                                                 DEFENDANT

                                              ORDER

       Rebecca Lucille Spray has been sentenced to a term of time served, followed by supervised

release with a special condition that she spend the first four months in a residential reentry center.

The probation office has informed the Court that the City of Faith should have space available on

Monday, July 8, 2013. Therefore, Spray’s sentence will be time served as of July 8, 2013. The

United States Marshals Service is ordered to release Spray on that date. Spray is ordered to report

to the probation office immediately upon her release.

       IT IS SO ORDERED this 3rd day of July, 2013.



                                                        _________________________________
                                                        J. LEON HOLMES
                                                        UNITED STATES DISTRICT JUDGE
